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1    BENJAMIN B. WAGNER
     United States Attorney
2    JASON HITT
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2751
5
6
7                     IN THE UNITED STATES DISTRICT COURT
8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )      Case No. 2:12-cr-0076 WBS
                                   )
11             Plaintiff,          )      STIPULATION AND [PROPOSED] ORDER
                                   )      CONTINUING STATUS CONFERENCE DATE
12        v.                       )      AND EXCLUDING TIME
                                   )
13   SEAN FARRELL, and             )
     ETHAN STUART,                 )
14                                 )
               Defendants.         )
15                                 )
     ______________________________)
16
17        Plaintiff, United States of America, by its counsel, Assistant
18   United States Attorney Jason Hitt, and defendants Sean FARRELL, by
19   and through his counsel Randall Daar, Esq., and Ethan STUART, by and
20   through his counsel Shari White, Esq., stipulate and agree that the
21   existing status conference date of June 11, 2012, should be vacated.
22   The parties further stipulate and agree that a new status conference
23   should be set for July 23, 2012, at 9:30 a.m.
24        The parties believe a continuance of the status conference from
25   June to July will save judicial resources by eliminating an
26   unnecessary status conference because the defense counsel are
27   actively investigating the case and evaluating discovery produced by
28   the United States.   The time from June to July will give all the

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1    parties additional time to evaluate whether the defense will file
2    any relevant motions, seek a proposed resolution of the case by
3    guilty pleas, or proceed to a trial at a future date.             For these
4    reasons, the parties respectfully request that the Court vacate the
5    June 11, 2012 status conference date and set a new status conference
6    date of July 23, 2012, at 9:30 a.m.          If the Court grants this
7    request, the parties believe it will achieve a significant savings
8    of time and judicial resources while the parties get closer to
9    establishing motions to be filed, reaching resolution of the case,
10   or setting a trial date.
11         The parties further stipulate and agree that the defendants and
12   defense counsel will benefit greatly from the additional time
13   between June and July in order for the defense to effectively
14   evaluate the posture of the case and prepare for trial in this case
15   and, in addition, in the interests of justice under 18 U.S.C.
16   § 3161(h)(8)(B)(iv) and Local Code T4.            Accordingly, the parties
17   stipulate and agree that time should be excluded under the Speedy
18   Trial Act pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code
19   T4.
20                                                     Respectfully Submitted,
21                                                     BENJAMIN B. WAGNER
                                                       United States Attorney
22
23   DATED:    June 7, 2012                      By:   /s/Jason Hitt
                                                       JASON HITT
24                                                     Assistant U.S. Attorney
25   DATED:    June 7, 2012                      By:   /s/Jason Hitt
                                                       Authorized to sign for Mr.
26                                                     Daar on 06-06-12
                                                       RANDALL DAAR, Esq.
27                                                     Attorney for Sean FARRELL
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1    DATED:    June 7, 2012                    By:   /s/Jason Hitt
                                                     Authorized to sign for Ms.
2                                                    White on 06-06-12
                                                     SHARI L. WHITE, Esq.
3                                                    Attorney for Ethan STUART
4
5
6                                          ORDER
7         Based upon the representations and stipulation of counsel, IT
8    IS HEREBY ORDERED that:
9         1.     The status conference in this matter is set for June 11,
10   2012, at 9:30 a.m. is VACATED;
11        2.     A new status conference date is set for July 23, 2012, at
12   9:30 a.m.; and
13        3.     Based upon the representations and stipulation of the
14   parties, the Court finds that the time exclusion under 18 U.S.C.
15   § 3161(h)(8)(B)(iv) applies and the ends of justice outweigh the
16   best interest of the public and the defendants in a speedy trial.
17   Accordingly, time under the Speedy Trial Act shall be excluded from
18   June 11, 2012, up to and including July 23, 2012.
19
20        IT IS SO ORDERED.
21
22   DATED: June 7, 2012
23
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25
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